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               EXHIBIT D
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November​ ​2nd​ ​2017



Dear​ ​gentlemen,
as you know I (Henry) am no longer with ConfigAir LLC. Without going into the reasons for
this​ ​step​ ​the​ ​much​ ​more​ ​important​ ​thing​ ​is​ ​the​ ​legal​ ​situation.

Working on any software that is based on CAL, CALServer, CALUi, Visualization or
even just making use of it is considered a criminal act due to copyright violation. I
request you to immediately stop working on this software and any related software. If
Daniel forces you to continue on it, best consult a lawyer and ask him how you can
make sure to not being belonged for knowingly violating copyright. This is not a tiny
little crime. The penalty is up to 5 years of prison and a fine. I ask you to stop all work
on any of the software that was originally based on any of my products or which is
using​ ​it.​ ​So​ ​basically​ ​everything​ ​-​ ​even​ ​the​ ​intel​ ​project​ ​is​ ​using​ ​it.

Let​ ​me​ ​explain​ ​the​ ​legal​ ​situation:
CAL, CALServer, CALUi, Visualization and the first prologue configurator are things I
created between 2003 and 2011 before ConfigAir LLC was founded. German law of
copyright​ ​applies​ ​to​ ​the​ ​complete​ ​software.
§69a​ ​UrhG​ ​(​https://www.gesetze-im-internet.de/urhg/__69a.html​)

§69a.3 basically means that software that is the result of own creation doesn’t need any
special​ ​protection.​ ​The​ ​author​ ​automatically​ ​holds​ ​the​ ​intellectual​ ​property​ ​for​ ​this.

Daniel claims to hold the intellectual property for the software components mentioned above
because the operating agreement between partners had a section 3a that basically means
all intellectual property of anything brought into the company, any tools and everything else
belongs​ ​to​ ​the​ ​company.​ ​However​ ​that​ ​is​ ​not​ ​possible​ ​due​ ​to​ ​§29.1:

“​Das Urheberrecht ist nicht übertragbar, es sei denn, es wird in Erfüllung einer Verfügung von Todes wegen oder
an​ ​Miterben​ ​im​ ​Wege​ ​der​ ​Erbauseinandersetzung​ ​übertragen.​”


Translated: The intellectual property cannot be transferred - only inherited due to death or
inherited​ ​due​ ​to​ ​inheritance​ ​law​ ​cases.

So no matter what was in the operating agreement and even if I wanted to, the IP cannot
belong to Daniel. I think I never married him and I’m also still alive ;-) (Whenever both
sometimes​ ​felt​ ​like​ ​it​ ​was​ ​the​ ​case).

The only thing that can be transferred is the right of usage of my software. This happens by
issuing a license. I never ever issued a license to ConfigAir and also the operating
agreement is to unspecific to be seen as a license. It doesn’t even name the software that
this license should be valid for. In other words: ConfigAir neither holds the IP nor a valid
license of any software that I created. It is not allowed to even possess my software any
longer.​ ​The​ ​same​ ​is​ ​true​ ​for​ ​all​ ​customer​ ​projects​ ​and​ ​also​ ​for​ ​software​ ​that​ ​just​ ​uses​ ​it.
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§12, §13 and §14 UrhG are protected migrating from the author to any 3rd party and
therefore​ ​the​ ​author​ ​and​ ​owner​ ​of​ ​the​ ​IP,​ ​myself,​ ​at​ ​any​ ​point​ ​has​ ​the​ ​following​ ​right:
    ● Determine​ ​if​ ​and​ ​how​ ​the​ ​creation​ ​is​ ​to​ ​be​ ​published
    ● Publish​ ​the​ ​IP​ ​entirely
    ● The​ ​right​ ​to​ ​add​ ​a​ ​legal​ ​notice​ ​of​ ​ownership​ ​to​ ​the​ ​creation
    ● The​ ​right​ ​to​ ​disallow​ ​any​ ​change​ ​to​ ​the​ ​original​ ​IP

Now​ ​it​ ​is​ ​getting​ ​even​ ​more​ ​interesting:
§69f: “​Der Rechtsinhaber kann von dem Eigentümer oder Besitzer verlangen, daß alle rechtswidrig
hergestellten, verbreiteten oder zur rechtswidrigen Verbreitung bestimmten Vervielfältigungsstücke vernichtet
werden.​ ​§​ ​98​ ​Abs.​ ​3​ ​und​ ​4​ ​ist​ ​entsprechend​ ​anzuwenden.​”
This basically means that the owner of the IP (me) can demand from the owner of the
software (which is also me, but Daniel claims to be the owner even though he has no license
to​ ​proof​ ​this​ ​statement),​ ​that​ ​all​ ​illegally​ ​created​ ​and​ ​distributed​ ​versions​ ​are​ ​destroyed.

I​ ​requested​ ​the​ ​deletion​ ​of​ ​all​ ​software​ ​from​ ​git.

Daniel was informed about the legal situation and decided to ignore it. The penalty for
knowingly and willingly violating copyright is up to 5 years of prison and a monetary fine.
Please make sure that you are not also driven into illegal work on copyrighted material. I
have already filed a law case against ConfigAir and informed the FBI of illegal usage of
copyrighted material not only by ConfigAir but also by ConfigAir’s customers. It will just take
some​ ​time.

I am unhappy that it went so far. I also offered Daniel multiple times to issue a valid license,
but he ignored it thinking he would own my IP anyway so I should not get any compensation
at all. Once my IP is pulled out of the company, customers will start sueing ConfigAir as they
are also not allowed any longer to run their servers. They have a valid license with ConfigAir,
but ConfigAir sold them software that it doesn’t hold a valid license for. This will be a very
interesting law case. If I were you, I would already look for a new job as ConfigAir has
reached unfortunately a dead end. I tried very hard behind the scenes to come up with a
solution that would work for ConfigAir and me. I issued ConfigAir verbally a valid license until
my lawyer has prepared a license agreement. I just asked for a few little things as the
requirement.​ ​Do​ ​you​ ​know​ ​what​ ​made​ ​it​ ​failing?
I was disconnected from the company network. No redmine - no vpn. Daniel did not want to
give​ ​it​ ​to​ ​me​ ​back.​ ​Not​ ​kidding…​ ​With​ ​this​ ​choice​ ​he​ ​ended​ ​the​ ​future​ ​of​ ​ConfigAir.

PS:​ ​you​ ​can​ ​reach​ ​me​ ​under​ ​henry.kurz@hkc-group.de
